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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
UNITED STATES OF AMERICA,                                       Case No.   2:13-CR-6070-WFN-1
                                                                CRIMINAL MINUTES
                                     Plaintiff,
       -vs-                                                     DATE:     MAY 19, 2014
                                                                LOCATION: YAKIMA
KENNETH RICHARD ROWELL,
                                     Defendant.                 SENTENCING HEARING

                                     Hon. Wm. Fremming Nielsen
      Joanna L. Knutson                           Paul S. Stewart                       Lynette F. Walters
     Courtroom Deputy                              Law Clerk                             Court Reporter
                Alexander C. Ekstrom                                         Rick L. Hoffman
                Government Counsel                                           Defense Counsel
United States Probation Officer:     Sean E. Carter

       [ X ] Open Court                      [ ] Chambers                            [ ] Telecon
Defendant present in custody of United States Marshal with appointed counsel. Court confirmed with Govern-
ment counsel that he had no objections to the PSR; Court ruled on Defendant's objections to the PSR. Court also
confirmed with defense counsel that the Defendant had the opportunity to review the PSR and further queried
Defendant as to whether he had any objections other than that already discussed. Defendant indicated he did not.
The Court accepted the Presentence Investigation Report.

Counsel addressed the Court with their respective recommendations for resolution of the matter. Defendant
addressed the Court. Court ACCEPTS the parties' 11(c)(1)(C) Plea Agreement.

Imprisonment:             120 Months with credit for any time served
Supervised Release:        8 Years with standard conditions plus special conditions:
                             • Search of person, vehicle and residence
                             • Substance abuse evaluation and treatment/counseling, if recommended;
                                 Probation Officer is authorized to order up to 6 UAs and/or breathalyzers
                             • Abstain from controlled substances, including marijuana, and alcohol
                             • Do not enter any establishment whose primary item of sale is alcohol
                             • Cooperate in the collection of DNA as directed by Probation Officer
Fine:                     Waived
Special Assessment:       $100.00 – Inmate Financial Responsibility Program

Appeal rights waived by Plea Agreement including Defendant's right to file a post-conviction 2255 motion except
one based upon ineffective assistance of counsel. Court agrees to write a letter to the Bureau of Prisons
recommending Defendant be allowed to participate in the 500 hour drug treatment program as well as be
designated to the Sheridan, Oregon facility.

Defense counsel advised that the Defendant's father was prepared to go pay the $100 special assessment at this
time at the Clerk's office.



CONVENED: 10:04 A.M.        ADJOURNED: 10:26 A.M.           TIME:         0:22 HR.     CALENDARED      [ N/A ]
